Victor Shaken and Alice Shaken, Husband and Wife, Petitioners, v. Commissioner of Internal Revenue, RespondentShaken v. CommissionerDocket Nos. 39823, 45116United States Tax Court21 T.C. 785; 1954 U.S. Tax Ct. LEXIS 281; February 26, 1954, Promulgated *281 Decisions will be entered for the petitioners.  Certain amounts withdrawn from corporation by sole stockholder and his wife held on the facts to be loans and not dividends. Seymour J. Wilner, Esq., for the petitioners.R. J. McDonough, Esq., for the respondent.  Opper, Judge.  OPPER*785  Respondent determined income tax deficiencies against petitioners as follows:Docket No.YearDeficiency398231948$ 4,911.84451161949780.04The sole issue is whether certain withdrawals by petitioners from Victor International Corporation in 1948 and 1949 constituted loans or taxable dividends*282  to the extent of $ 13,583.16 in 1948 and $ 2,936.90 in 1949.FINDINGS OF FACT.Some of the facts were stipulated and they are hereby found.Petitioners are husband and wife.  They reside in Mount Vernon, New York.  Their joint returns for the calendar years 1948 and 1949 were filed with the collector of internal revenue for the second New York district.Victor Shaken, hereinafter referred to as petitioner, was the sole stockholder of Victor International Corporation, hereinafter sometimes referred to as the corporation, which was organized on August 6, 1946, under the laws of the State of New York and was engaged in the business of import and export, with its office at 225 Broadway, *786  New York City.  The corporation's income tax returns were filed on the basis of a fiscal year ending March 31.Prior to August 6, 1946, petitioner operated an importing and exporting business as a sole proprietor under the trade name of Victor Importing Company.  Petitioner's attorney, John Tullman, advised petitioner to do business in a corporate form because excess profits taxes had been eliminated and there was "a great deal more elbow room" in corporate activities than had existed theretofore. *283  On or about August 6, 1946, petitioner transferred to Victor International Corporation all of his interest in Victor Importing Company in return for 3 shares of the corporation's capital stock.At all times during the corporate existence of Victor International Corporation, petitioner was the sole stockholder, petitioner and his wife were the only directors, petitioner was president and treasurer, and his wife was vice president and secretary.  Petitioner was also the primary manager who made and executed the corporation's policies.  Petitioner's wife was never a stockholder of the corporation.Petitioner and his wife maintained running "loan accounts" with the corporation.  Petitioner's loan account on the books of the corporation can be summarized as follows:PeriodExplanationAmountdebitedAug. 1, 1946, toTotal withdrawals$ 1,248.61Dec. 31, 1946.Balance (due petitioner)1,315.07Total$ 2,563.68Jan. 1, 1947 toTotal withdrawals$ 3,373.48Mar. 31, 1947.Balance (due petitioner)291.59Total$ 3,665.07Apr. 1, 1947, toTotal withdrawals$ 2,513.61Dec. 31, 1947.Total$ 2,513.61Jan. 1, 1948, toBalance at beginning ofMar. 31, 1948.period.$ 2,222.02Total withdrawals663.68Total$ 2,885.70Apr. 1, 1948, toBalance at beginning of$ 5.70Dec. 31, 1948.period.Total withdrawals20,103.26Total$ 20,108.96Jan. 1, 1949, toBalance at beginning ofMar. 31, 1949.period.$ 16,372.46Total withdrawals10,397.05Total$ 26,769.51Apr. 1, 1949, toBalance at beginning ofDec. 31, 1949.period.$ 13,304.81Total withdrawals1,581.30Total$ 14,886.11Jan. 1, 1950, toBalance at beginning of$ 13,886.11Mar. 31, 1950.period.Total withdrawals358.00Total$ 14,244.11*284 PeriodExplanationAmountcreditedAug. 1, 1946, toBalance at beginning of period$ 2,563.68Dec. 31, 1946.Total$ 2,563.68Jan. 1, 1947, toBalance at beginning of period$ 1,315.07Mar. 31, 1947.Salaries transferred to loanaccount.2,350.00Total$ 3,665.07Apr. 1, 1947, toBalance at beginning of period$ 291.59Dec. 31, 1947.Balance (due the corporation)Dec. 31, 1947.2,222.02Total$ 2,513.61Jan. 1, 1948, toSalaries transferred to loanMar. 31, 1948.account.$ 2,880.00Balance (due the corporation)Mar. 31, 1948.5.70Total$ 2,885.70Apr. 1, 1948, toPetitioner's cash payments for$ 2,736.50Dec. 31, 1948.the corporation's account.Total of salary checks deposited692.05Cash307.95Balance (due the corporation)16,372.46Dec. 31, 1948.Total$ 20,108.96Jan. 1, 1949, toTotal of salary checks deposited$ 516.00Mar. 31, 1949.Cash484.00Petitioner's personal check9,584.70Salaries transferred to loanaccount.2,880.00Balance (due the corporation)Mar. 31, 194913,304.81Total$ 26,769.51Apr. 1, 1949, toTotal of salary checks deposited$ 351.75Dec. 31, 1949.Cash648.25Balance (due the corporation)13,886.11Dec. 31, 1949.Total$ 14,886.11Jan. 1, 1950, toBalance (due the corporation)$ 14,244.11Mar. 31, 1950.Mar. 31, 1950.Total$ 14,244.11*285 *787   Petitioner made the following withdrawals from his loan account prior to January 1, 1948:DateExplanationAmountSept. 10, 1946Collector of Internal Revenue$ 292.00Oct.&nbsp;&nbsp;18, 1946V. Shaken -- Equitable Life449.70Oct.&nbsp;&nbsp;18, 1946Dr. Sidney Harris150.00Dec.&nbsp;&nbsp;&nbsp;9, 1946Thomas N. Barr35.00Dec.&nbsp;&nbsp;21, 1946Dr. Sidney Harris100.00Dec.&nbsp;&nbsp;18, 1946Bloomingdale Bros21.91Dec.&nbsp;&nbsp;&nbsp;6, 1946Dr. Sidney Harris100.00Dec.&nbsp;&nbsp;24, 1946S. Legget50.00Dec.&nbsp;&nbsp;24, 1946Madie Williams50.00Dec.&nbsp;&nbsp;21, 1946B. Francis25.00Dec.&nbsp;&nbsp;24, 1946Ethel Lappner50.00Dec.&nbsp;&nbsp;20, 1946Ethel Novick50.00Jan.&nbsp;&nbsp;14, 1947Collector of Internal Revenue500.00Jan.&nbsp;&nbsp;31, 1947Dr. Sidney Harris100.00Jan.&nbsp;&nbsp;30, 1947Louis Schwartz50.00Feb.&nbsp;&nbsp;10, 1947Beth Hamedresh Hogedet4.80Feb.&nbsp;&nbsp;&nbsp;1, 1947Mrs. Harold Freeston30.00Mar.&nbsp;&nbsp;31, 1947V. Shaken2,563.68Apr.&nbsp;&nbsp;&nbsp;7, 1947State Tax Commission151.41Apr.&nbsp;&nbsp;30, 1947Ethel Novick200.00Apr.&nbsp;&nbsp;&nbsp;5, 1947Young's Merchandise Corp10.00Apr.&nbsp;&nbsp;19, 1947M. Hoffman &amp; Son325.00Apr.&nbsp;&nbsp;23, 1947S. Harris100.00May&nbsp;&nbsp;&nbsp;17, 1947Bonwit Teller107.05June&nbsp;&nbsp;14, 1947S. H. Harris201.00June&nbsp;&nbsp;30, 1947Additional withholding tax470.00July&nbsp;&nbsp;&nbsp;8, 1947Louis Schwartz350.00Sept.&nbsp;22, 1947Victor Shaken324.15Oct.&nbsp;&nbsp;10, 1947L. Schwartz50.00Nov.&nbsp;&nbsp;15, 1947Abercrombie &amp; Fitch125.00Dec.&nbsp;&nbsp;24, 1947Sallye Legget50.00Dec.&nbsp;&nbsp;24, 1947Ethel Lappner50.00Total$ 7,135.70*286  Petitioner's withdrawals from the loan account during 1948 were as follows:DateCorporatePayeeAmountcheck No.Mar.&nbsp;&nbsp;&nbsp;8, 19483794Collector of Internal Revenue$ 547.80Mar.&nbsp;&nbsp;&nbsp;9, 1948115.88Apr.&nbsp;&nbsp;&nbsp;3, 19483874S. Harold Harris10.00Apr.&nbsp;&nbsp;&nbsp;9, 19483891State Tax Commission251.94Apr.&nbsp;&nbsp;29, 19483943Ethel Lappner50.00Mar.&nbsp;&nbsp;31, 1948Abercrombie &amp; Fitch145.00June&nbsp;&nbsp;&nbsp;2, 19484173Prestige Appliances478.50June&nbsp;&nbsp;30, 19484002Steven's Buick100.00July&nbsp;&nbsp;&nbsp;8, 1948J. F. Stobey319.25Aug.&nbsp;&nbsp;19, 19484295V. Shaken7,900.00Aug.&nbsp;&nbsp;23, 19484305Collector of Internal Revenue1,661.07Aug.&nbsp;&nbsp;27, 19484320V. Shaken8,300.00Aug.&nbsp;&nbsp;24, 19484307Ethel Lappner25.00Sept.&nbsp;11, 1948Ralph Scarinzi200.00Oct.&nbsp;&nbsp;11, 19484392Equitable Life337.50Sept. 25, 19484598Ralph Scarinizi [sic]200.00Oct.&nbsp;&nbsp;25, 19484599Ralph Scarinzi125.00Total$ 20,766.94*788  These withdrawals were all charged to a corporate account labeled "Loans Receivable -- Victor Shaken." The stubs of checks numbered 4295, 4305, and 4320 contained the following notations:Check No.Notation4295V. Shaken (loan)4305Collector of Internal Revenuea/c Victor Shaken 1945 Ass.4320V. Shaken loan*287  The word "loan" on the stub of the check numbered 4320 is in pencil and was inserted a day or two after the check was drawn or possibly at the end of the month when the corporation's accountant asked petitioner about such things.In the summer of 1948 there were a number of unsubstantiated claims against the corporation.  These claims arose from the contentions of some of the corporation's customers in the Far East that defective merchandise had been shipped to them.  Two lawsuits had been commenced against the corporation: One in Bombay, India, for $ 9,600, and another by a Kirk Klein in the New York Supreme Court in New York City for $ 19,000.  These suits were still pending at the time of the hearing in the present proceeding.The merchandise involved in these claims had been purchased by the corporation from other suppliers and sold by it to customers in the Far East.  In petitioner's business, if merchandise became damaged in transit, the corporation had a claim against the carrier and such claim was turned over to the insurance underwriters.  If the merchandise was defective before transit, the corporation had a claim against the supplier. When Kirk Klein asserted his claim*288  in court, the corporation's supplier, the Cotton Processing Corporation, was joined as third party defendant.  Only four or five times during the life of the corporation was it unable to collect from third parties the amount of the claims asserted against it.During the summer of 1948 petitioner conferred with his lawyer and accountant over what to do about the Far East claims which were then unsubstantiated and did not appear on the corporation's books as liabilities.  The corporation maintained only one bank account, which was at the Irving Trust Company in New York City.  The corporation had overseas agents to whom commissions were owed, and these commissions were listed as liabilities on the corporation's balance sheets. Petitioner was anxious to maintain the corporation's overseas contacts.With the sums advanced to petitioner by corporate check on August 19 and August 27, 1948, petitioner bought high grade securities outright without margin on the New York Stock Exchange.  He kept these securities in a safe-deposit vault and continued to own them *789  unencumbered and unpledged until after the corporation was liquidated in June 1950.The debit balance of $ 16,372.46 in*289  petitioner's loan account as of December 31, 1948, was reduced to $ 13,304.81 by March 31, 1949.  On March 31, 1949, which was the close of the fiscal year of the corporation, petitioner made and delivered to the corporation his promissory note dated that day, in the amount of $ 13,304.81, payable on demand to the order of Victor International Corporation, without interest, at Irving Trust Company, 225 Broadway, New York, New York.  The same amount was also reflected as a corporate asset in the item "loans receivable" on the corporation's March 31, 1949, balance sheet.From the time petitioner executed the promissory note until the dissolution of the corporation in 1950, the note was kept in the corporation's strongbox and the corporation's accountant knew about it.  When the corporation was liquidated, the note was canceled by having petitioner's signature torn off.  Petitioner was solvent throughout the period between August 1948 and June 1950, and he was able to repay the sum represented by the promissory note at any time.  After the large advances were made to petitioner in August 1948, the corporation did not curtail any of its normal activities and was prepared to do every kind*290  of business it had done before 1948.At the time the corporation made the advances to petitioner in 1948, petitioner knew that there was a distinction between capital gain rates and ordinary income rates, and that dividends were taxed as ordinary income.The running loan account maintained with the corporation by petitioner's wife contained the following entries:DateExplanationAmountdebitedDec.&nbsp;&nbsp;31, 1946Balance (due petitioner)$ 3,264.91Mar.&nbsp;&nbsp;31, 1947Alice Shaken$ 4,514.91Mar.&nbsp;&nbsp;31, 1947Balance (due petitioner)0$ 4,514.91Apr.&nbsp;&nbsp;&nbsp;7, 1947State Tax Commission$ 17.50June&nbsp;&nbsp;30, 1947Additional withholding250.00tax.Nov.&nbsp;&nbsp;26, 1947Saks &amp; Co123.00$ 390.50Jan.&nbsp;&nbsp;&nbsp;1, 1948Balance$ 390.50Mar.&nbsp;&nbsp;&nbsp;8, 1948Collector of InternalRevenue.2.28Mar.&nbsp;&nbsp;31, 1948Balance (due petitioner)7.22$ 400.00Apr.&nbsp;&nbsp;&nbsp;9, 1948State Tax Commission$ 135.75$ 135.75Jan.&nbsp;&nbsp;&nbsp;1, 1949Balance$ 128.53Mar.&nbsp;&nbsp;23, 1949J. Feldstein135.00Mar.&nbsp;&nbsp;31, 1949The Telescope25.92Furniture Co.Mar.&nbsp;&nbsp;31, 1949Balance (due petitioner)110.55$ 400.00Aug.&nbsp;&nbsp;&nbsp;8, 1949Maybrook Bedding$ 92.32Apr.&nbsp;&nbsp;13, 1949The Fair60.00Apr.&nbsp;&nbsp;15, 1949State Tax Commission198.45Apr.&nbsp;&nbsp;27, 1949Riche Nursery146.50Apr.&nbsp;&nbsp;&nbsp;9, 1949Saks -- 5th Ave115.00May&nbsp;&nbsp;&nbsp;25, 1949Jessi Vogel37.30May&nbsp;&nbsp;&nbsp;25, 1949Talbott Glass33.25June&nbsp;&nbsp;&nbsp;3, 1949Jacques Bodart, Inc474.17July&nbsp;&nbsp;&nbsp;7, 1949O'Neil Rug &amp; Carpet250.00Aug.&nbsp;&nbsp;29, 1949A. Shaken3,000.00Sept. 12, 1949Marie Nelson240.00Oct.&nbsp;&nbsp;&nbsp;4, 1949Equitable Life339.75Oct.&nbsp;&nbsp;26, 1949Samuel Shiller30.50Oct.&nbsp;&nbsp;10, 1949William Hoffman54.00Nov.&nbsp;&nbsp;&nbsp;7, 1949Nursery Furniture63.50Nov.&nbsp;&nbsp;18, 1949Riche Nursery66.00Nov.&nbsp;&nbsp;14, 1949New York Hospital235.73Dec.&nbsp;&nbsp;13, 1949M. Nelson120.00Dec.&nbsp;&nbsp;19, 1949M. Nelson84.00$ 5,640.47Jan&nbsp;&nbsp;&nbsp;&nbsp;1, 1950Balance$ 5,508.25Jan.&nbsp;&nbsp;11, 1950Lord &amp; Taylor75.30$ 5,583.55Apr.&nbsp;&nbsp;&nbsp;1, 1950Balance$ 5,583.55*291 DateExplanationAmountcreditedAug.&nbsp;&nbsp;&nbsp;1, 1946Balance at beginning$ 3,264.91Jan.&nbsp;&nbsp;&nbsp;1, 1947Balance$ 3,264.91Mar.&nbsp;&nbsp;31, 1947Salaries transferred toloan account1,250.00$ 4,514.91Apr.&nbsp;&nbsp;&nbsp;1, 1947Balance0Dec.&nbsp;&nbsp;31, 1947Balance (due thecorporation).$ 390.50$ 390.50Mar.&nbsp;&nbsp;31, 1948Salaries transferred to$ 400.00loan account.$ 400.00Apr.&nbsp;&nbsp;&nbsp;1, 1948Balance$ 7.22Dec.&nbsp;&nbsp;31, 1948Balance (due the128.53corporation).$ 135.75Mar.&nbsp;&nbsp;31, 1949Salaries transferred to$ 400.00loan account.$ 400.00Apr.&nbsp;&nbsp;&nbsp;1, 1949Balance$ 110.55Sept.&nbsp;&nbsp;2, 1949J. Bogart -- refund21.67Dec.&nbsp;&nbsp;31, 1949Balance (due the5,508.25corporation$ 5,640.47Mar.&nbsp;&nbsp;31, 1950Balance (due the$ 5,583.55corporation).$ 5,583.55*790  Many of the advances made to petitioner's wife were amounts paid for household furnishings and other items for the home of petitioner and his wife.  The $ 3,000 withdrawal made on August 29, 1949, was apparently never repaid to the corporation or to petitioner, and Alice Shaken never gave the corporation any promissory note for her claimed indebtedness. Alice Shaken was solvent and able at *292  all times to repay the money advanced by the corporation and she agreed to repay it.The corporation's certified public accountant submitted to it monthly statements of the corporation's accounts which included a balance sheet of assets and liabilities at the close of business each month.  All of the monthly statements over the period involved show the loans receivable due to the corporation from petitioner and his wife.  These financial reports were shown to several of the corporation's suppliers, people who extended credit to the company, and several persons who were thinking of entering the export business.  The balance sheets attached to the corporation's Federal income tax returns also show these amounts as loans receivable.The various claims which had been asserted against Victor International *791  Corporation by its vendees in the Far East were not set forth as liabilities on the balance sheet of the corporation nor was a reserve for contingent liabilities established.No interest was paid by Victor International Corporation to either petitioner or his wife on any loan payable account, and no interest was paid by either petitioner or his wife to the corporation on any *293  loan receivable account.The following resolution was adopted at a special meeting of the corporation's stockholders held on March 24, 1950:A motion was duly made by Victor V. Shaken that the corporation dissolve and all assets be distributed at once to the stockholders [sic].A vote being had thereon, the motion was unanimously carried and adopted.Pursuant to this resolution, Victor International Corporation transferred to petitioner all its assets, subject to all its liabilities, in complete liquidation and redemption of all the capital stock.In the liquidation, the entire claimed indebtedness of petitioner and his wife both on their loan accounts and on petitioner's promissory demand note was canceled and discharged by treatment of the amount due as a liquidating distribution to petitioner, the sole stockholder. In their joint Federal income tax return for the calendar year 1950, petitioner and his wife reported a long-term capital gain by reason of their treatment of the cancellation of the claimed indebtedness as a liquidating distribution made in complete redemption of petitioner's capital stock in the corporation.Victor International Corporation was dissolved by Certificate*294  of Dissolution filed in the office of the Secretary of State of New York on June 30, 1950.  The corporation also filed with respondent Form 966 together with a certified copy of the resolution for liquidation adopted at the March 24 meeting.Except for the distribution upon liquidation, the corporation never made any formal dividend declaration.The balance sheets of Victor International Corporation, as adjusted to give effect to subsequent changes by the Bureau of Internal Revenue, show the following amounts of earned surplus accumulated at the end of its respective fiscal years:Fiscal yearendedMar. 31Earned surplus1947$ 9,663.03194813,757.21194915,427.73195013,847.77*792  By the end of fiscal year 1950 petitioner and his wife had withdrawn practically all the capital and surplus invested in the business, as shown as follows:Total assets at Mar. 31, 1950$ 31,817.47Less: Loans receivable21,237.66Balance of assets$ 10,579.81Total liabilities10,360.18Balance$ 219.63Capital and surplus$ 21,457.29Loans receivable21,237.66After the corporate liquidation petitioner operated the business as a sole proprietor *295  under the name of Victor Importing Company.  The business was of exactly the same nature as that of the dissolved corporation.After the liquidation of the corporation, Alice Shaken loaned money to Victor Importing Company.  At June 30, 1952, that company owed her the sum of $ 13,020.29.In the deficiency notice addressed to petitioners covering the calendar year 1948, respondent explained his adjustment to their income as follows:(a) It has been determined that cash withdrawals by you in 1948 from Victor International Corporation were not loans but constituted taxable dividends, to the extent of $ 13,583.16, within the purview of Sections 22 (a) and 115 of the Internal Revenue Code.The deficiency notice covering the calendar year 1949 referred to a revenue agent's report, dated May 12, 1952, which explained one of respondent's adjustments for that year as follows:Dividends$ 2,936.90Cash advances in above amount, from Victor International Corporation, constituted taxable dividends.Petitioner and his wife, both individually and as officers and directors of Victor International Corporation, regarded the moneys advanced to them by the corporation in 1948 and 1949 as loans*296  and consistently treated them as such.The withdrawals made by petitioner in 1948 and the payments made to his wife in 1949 were loans and not dividends.OPINION.The sole issue as to whether withdrawals from petitioner's corporation were loans or disguised dividends is purely one of fact as both parties agree.  Wiese v. Commissioner, (C. A. 8, 1938) 93 F. 2d 921, 923, certiorari denied 304 U.S. 562"&gt;304 U.S. 562, rehearing denied 304 U.S. 589"&gt;304 U.S. 589. Our ultimate finding disposes of the question in petitioner's favor for reasons some of which we set forth in greater detail.*793 From the inception of Victor International Corporation in 1946 until its liquidation in 1950, both petitioner and his wife maintained running "loan accounts" with the corporation.  No ground is given or appears from the record for treating some of the withdrawals from these loan accounts, either in the earlier years or in the years before us, as disguised dividends and other withdrawals from the same accounts as bona fide loans.  See Rollin C. Reynolds, 44 B. T. A. 342. If we were to assume that all of *297  the withdrawals were disguised dividends, with the so-called repayments being contributions to paid-in capital or loans to the corporation, it would have had no earned surplus in 1949 out of which to declare dividends; the total withdrawals up until January 1, 1949, of $ 32,946.08 far offset the earned surplus of $ 15,427.73, which, according to the revenue agent's report, was all that existed on March 31, 1949.  1The year 1948 is not materially different.  Prior to that year petitioner and his wife 2 had made withdrawals totaling $ 12,041.11 which when offset against earnings during the corporation's first 2 fiscal years of $ 13,757.21 leaves an earned surplus of only $ 1,716.10. *298  If we add this to the $ 1,670.52 earned by the corporation during the fiscal year ended March 31, 1949 (only 9 months of which fell in petitioner's 1948 calendar year), we arrive at a figure of $ 3,386.62, a much smaller and totally different amount than that sought to be taxed as dividends by respondent.  Since petitioner's withdrawals of $ 20,766.94 in 1948 have no relation to this maximum earned surplus figure, it is difficult for us to believe that he was using the corporation's loan receivable account to disguise any dividend distribution.The evidence also shows that petitioner received salaries during the periods in question, and that some of these were credited to his loan account, further circumstances tending to rebut any over-all intention to avoid taxes on ordinary income.  The failure to *299  charge interest is not determinative here.  See Irving T. Bush, 45 B. T. A. 609, 623, remanded without consideration of this point (C. A. 2) 133 F.2d 1005"&gt;133 F. 2d 1005. Petitioner's execution of a note in 1949 for the net balance due and the carrying of the amounts on the books of the corporation as loan receivables cannot be ignored.  See Moses W. Faitoute, 38 B. T. A. 32, 35.Under all the circumstances, see Carl L. White, 17 T. C. 1562, we think the deficiency was improperly determined.Decisions will be entered for the petitioners.  Footnotes1. According to the same report, the earned surplus on March 31, 1950, was $ 13,847.77.  Presumably the surplus on December 31, 1949, was a figure somewhere between the two, although petitioner's original balance sheet reports a net loss of $ 15,071.70 for the last 9 months of 1949 and puts the surplus at the end of the year at $ 2,965.55.↩2. The payments to petitioner's wife, as respondent contends, went for her required support and consequently were for his benefit.  See Clark v. Commissioner, (C. A. 3) 84 F. 2d 725↩.